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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


  TREY GREENE, individually and on behalf of Case No.: 2:23-cv-01165
  all others similarly situated,
                                 Plaintiff,  NOTICE OF MOTION FOR
          v.
                                             APPOINTMENT OF LEAD
                                             PLAINTIFF AND APPROVAL OF
  ZAC PRINCE, FLORI MARQUEZ, TONY
  LAURA, JENNIFER HILL and GEMINI            SELECTION OF LEAD COUNSEL
  TRADING, LLC,                              PURSUANT TO PSLRA 15 U.S.C. §78u-
                                             4(a)(3)(8)
                                 Defendants.

       PLEASE TAKE NOTICE that pursuant to Section 21D of the Securities Exchange Act of

1934, 15 U.S.C. § 78u-4(a)(3)(B), as amended by the Private Securities Litigation Reform Act of

1995, Movants hereby move this Court, on a date and at a time to be designated by the Court for

an order:

       a) Appointing Pham Duy Anh, Dang to serve as Co-Lead Plaintiff as a Member in a

            Group with movants Trey Greene (“Greene”) and Arman Reyes (“Reyes”)

            (collectively “Movants”) pursuant to the Greene and Reyes motion for lead plaintiff

            as filed in ECF No. 6; and

       b) approving Movants’ selection of Squitieri & Fearon LLP and Moore Kuehn PLLC for

            Co-Lead Counsel for the Class.

       In support of this Motion, Movants submit: (i) the Memorandum of Law dated May 1,

2023, and (ii) the Declaration of Lee Squitieri in support of the motion (and exhibits).

DATED:         May 1, 2023                    SQUITIERI & FEARON, LLP


                                              /s/ Lee Squitieri
                                              Olimpio Lee Squitieri
                                              305 Broadway
                                              7th Floor
                                              New York, New York 10007

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